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                                  No. 6:22-cv-00003

                                 Greg Abbott et al.,
                                     Plaintiffs,
                                         v.
                               Joseph R. Biden et al.,
                                    Defendants.


                                      ORDER

              On June 8, 2022, defendants moved to reschedule the June 22,
          2022 hearing. Doc. 44. The motion is granted. The hearing on
          plaintiffs’ motion for preliminary injunction (Doc. 24) is set for
          June 23, 2022 at 10:00 a.m. in courtroom 306 (Tyler) before Dis-
          trict Judge J. Campbell Barker. Accordingly, Governor Dun-
          leavy’s counsel’s motion (Doc. 43) to appear telephonically is de-
          nied as moot.
              Also before the court is defendants’ motion to strike or re-
          spond. Doc. 42. The motion is granted. Defendants may file a re-
          sponse to only those issues raised in plaintiffs’ motion for hearing
          (Doc. 41). The response should not exceed three pages and must
          be filed on or before June 16, 2022. No other briefing may be filed
          without leave of the court.
                                      So ordered by the court on June 8, 2022.



                                              J. C A M P BE L L B A R K E R
                                              United States District Judge
